7/17/2020          Case: 4:20-cv-00933 Doc. #: 1-5   Filed:
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                    20SL-CC00905 - CRAIG MARTON ET AL V RICHARD BARNARD ET AL (E-
                                               CASE)


                                      This information is provided as a service and is not considered an official court record.

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                                                                Descending                                                           All Entries
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                                                                                                 Ascending


  07/13/2020            Certificate of Service
                        Cert of Serv of Def Answers and Objections to Plaintiffs Supplemental Interrogatory Directed to
                        Defendant Christine Barnard; Electronic Filing Certificate of Service.
                          Filed By: BETH CLEMENS BOGGS
                          On Behalf Of: CHRISTINE BARNARD

  06/19/2020            Notice of Service
                        Return of Service - Defendant Richard Barnard; Electronic Filing Certificate of Service.
                          Filed By: JAMES WINDSOR EASON
                          On Behalf Of: CRAIG MARTON, LESLIE MARTON
                        Family Member/Roommate Served
                        Document ID - 20-SMOS-492; Served To - BARNARD, RICHARD; Server - ; Served Date - 15-JUN-20;
                        Served Time - 00:00:00; Service Type - Special Process Server; Reason Description - Served

  06/17/2020            Notice of Service
                        Return of Service - Defendant Richard Barnard; Electronic Filing Certificate of Service.
                          Filed By: JAMES WINDSOR EASON
                          On Behalf Of: CRAIG MARTON, LESLIE MARTON

  06/09/2020            Motion Hearing Scheduled
                            Scheduled For: 06/18/2020; 2:30 PM ; STANLEY JAMES WALLACH; St Louis County

  06/08/2020            Notice of Hearing Filed
                        Notice of Hearing; Electronic Filing Certificate of Service.
                          Filed By: BETH CLEMENS BOGGS
                          On Behalf Of: CHRISTINE BARNARD
                        Alias Summons Issued
                        Document ID: 20-SMOS-492, for BARNARD, RICHARD. Summons Attached in PDF Form for Attorney
                        to Retrieve from Secure Case.Net and Process for Service.

  06/05/2020            Cert Serv Answers Interrog Fil
                        Certificate of Service - Plaintiff Leslie Martons Answers and Responses to Defendant Christine
                        Barnards Discovery; Electronic Filing Certificate of Service.
                          Filed By: JAMES WINDSOR EASON
                          On Behalf Of: CRAIG MARTON, LESLIE MARTON
                        Cert Serv Answers Interrog Fil

https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                                              1/3
7/17/2020        Case: 4:20-cv-00933 Doc. #: 1-5   Filed:
                                              Case.net:     07/17/20
                                                        20SL-CC00905      Page:
                                                                     - Docket       2 of 82 PageID #: 14
                                                                              Entries
                      Certificate of Service - Plaintiff Craig Martons Answers and Responses to Defendant Christine Barnards
                      Discovery; Electronic Filing Certificate of Service.
                         Filed By: JAMES WINDSOR EASON

  06/04/2020          Alias Summons Requested
                      Motion for Alias Summons; Electronic Filing Certificate of Service.
                        Filed By: JAMES WINDSOR EASON
                        On Behalf Of: CRAIG MARTON, LESLIE MARTON

  06/02/2020          Certificate of Service
                      Cert of Serv of Defendants Supplemental Answers to Plaintiffs Interrogatory No 6 Directed to Defendant
                      Christine Barnard; Electronic Filing Certificate of Service.
                        Filed By: BETH CLEMENS BOGGS
                        On Behalf Of: CHRISTINE BARNARD

  05/22/2020          Suggestions in Opposition
                      Memorandum in Opposition to Plaintiffs Motion for Default Judgment; Exhibit A; Exhibit B; Electronic
                      Filing Certificate of Service.
                          Filed By: MICHAEL DOMINIC CERULO
                          On Behalf Of: RICHARD BARNARD

  05/21/2020          Entry of Appearance Filed
                      Limited Entry of Appearance; Electronic Filing Certificate of Service.
                         Filed By: MICHAEL DOMINIC CERULO
                         On Behalf Of: RICHARD BARNARD
                      Certificate of Service
                      Cert of Serv of Def Christine Barnards Ans and Obj to Plaintiffs First Interrogatories and Resp and Obj
                      to Plaintiffs Request for Production of Documents; Electronic Filing Certificate of Service.
                         Filed By: BETH CLEMENS BOGGS
                         On Behalf Of: CHRISTINE BARNARD

  05/20/2020          Motion for Default Judgment
                      Motion for Default Judgment against Defendant Richard Barnard; Electronic Filing Certificate of
                      Service.
                        Filed By: JAMES WINDSOR EASON
                        On Behalf Of: CRAIG MARTON, LESLIE MARTON

  05/15/2020          Motion to Dismiss
                      Motion to Dismiss; Exhibit A; Electronic Filing Certificate of Service.
                        Filed By: BETH CLEMENS BOGGS
                        On Behalf Of: CHRISTINE BARNARD

  05/13/2020          Certificate of Service
                      Cert of Serv of Def Christine Barnards First Interrogatories and Request for Production of Documents
                      Directed to Plaintiff Leslie Marton and Craig Marton; Electronic Filing Certificate of Service.
                         Filed By: BETH CLEMENS BOGGS
                         On Behalf Of: CHRISTINE BARNARD

  04/30/2020          Cert Serv of Interrog Filed
                      Certificate of Service - Plaintiffs Discovery Requests to Defendant Christine Barnard.
                        Filed By: JAMES WINDSOR EASON
                        On Behalf Of: CRAIG MARTON, LESLIE MARTON

https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                        2/3
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                                              Case.net:     07/17/20
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                                                                              Entries
                      Entry of Appearance Filed
                      Entry of Appearance; Electronic Filing Certificate of Service.
                         Filed By: BETH CLEMENS BOGGS
                         On Behalf Of: CHRISTINE BARNARD

  04/02/2020          Cert Serv of Interrog Filed
                      Certificate of Service - Plaintiffs Discovery Requests to Defendants Richard and Christine Barnard.
                        Filed By: JAMES WINDSOR EASON
                        On Behalf Of: CRAIG MARTON, LESLIE MARTON

  02/25/2020          Family Member/Roommate Served
                      Document ID - 20-SMCC-1560; Served To - BARNARD, RICHARD; Server - ; Served Date - 21-FEB-
                      20; Served Time - 00:00:00; Service Type - Special Process Server; Reason Description - Served
                      Summons Personally Served
                      Document ID - 20-SMCC-1561; Served To - BARNARD, CHRISTINE; Server - ; Served Date - 21-FEB-
                      20; Served Time - 00:00:00; Service Type - Special Process Server; Reason Description - Served

  02/24/2020          Notice of Service
                      Return of Service - Defendant Richard Barnard.
                        Filed By: JAMES WINDSOR EASON
                        On Behalf Of: CRAIG MARTON, LESLIE MARTON
                      Notice of Service
                      Return of Service - Defendant Christine Barnard.
                        Filed By: JAMES WINDSOR EASON

  02/21/2020          Summons Issued-Circuit
                      Document ID: 20-SMCC-1561, for BARNARD, CHRISTINE. Summons Attached in PDF Form for
                      Attorney to Retrieve from Secure Case.Net and Process for Service.
                      Summons Issued-Circuit
                      Document ID: 20-SMCC-1560, for BARNARD, RICHARD. Summons Attached in PDF Form for
                      Attorney to Retrieve from Secure Case.Net and Process for Service.

  02/07/2020          Filing Info Sheet eFiling
                          Filed By: JAMES WINDSOR EASON
                      Motion Special Process Server
                      Request for Appointment of Process Server.
                        Filed By: JAMES WINDSOR EASON
                      Pet Filed in Circuit Ct
                      Petition.
                         On Behalf Of: CRAIG MARTON, LESLIE MARTON
                      Judge Assigned
                      DIV 12
 Case.net Version 5.14.0.17                                Return to Top of Page                             Released 11/25/2019




https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                      3/3
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                                                                           20SL-CC00905


                     IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                           TWENTY-FIRST JUDICIAL CIRCUIT
                                STATE OF MISSOURI

CRAIG AND LESLIE MARTON                                   )
                                                          )
       Plaintiffs,                                        )
                                                          )      Cause No.
v.                                                        )
                                                          )      Division No.
                                                          )
RICHARD AND CHRISTINE BARNARD                             )
                                                          )
                                                          )
       Defendants.                                        )
                                                          )
Serve Defendants at:                                      )
1403 Sugartree Lane
Pacific, Missouri 63069

                                         PETITION

       COME NOW, Plaintiffs, by and through their undersigned counsel, and for their

Petition state and allege the following. Plaintiffs request a trial by jury on all counts.

                                GENERAL ALLEGATIONS

                                           Parties

       1.     Plaintiffs are natural persons and at all times relevant to this action, are

residents of Springfield, Missouri.

       2.      Defendants, upon information and belief, are natural persons and at all

times relevant to this action are residents of Franklin County, Missouri.


                                           VENUE

       3.     Venue is proper because the car crash that gave rise to this cause of

action occurred in St. Louis County, Missouri.



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                                        JURISDICTION

       4.      The Court has personal jurisdiction over this matter pursuant to Missouri

law.

                           FACTS COMMON TO ALL COUNTS

       5.      On or about August 30, 2016, Defendant Richard Barnard was operating a

2007 Jeep Compass at the intersection of Missouri 141 and Howard George Drive.

       6.      Defendant Christine Barnard is the registered owner of the 2007 Jeep

Compass. Christine Barnard allowed and entrusted the 2007 Jeep Compass to Richard

Barnard.

       7.      Plaintiff Leslie Marton was operating her vehicle on west Howard George

Drive attempting to make a left turn onto Missouri 141.

       8.      Plaintiff Craig Marton was operating his vehicle on west Howard George

Drive attempting to make a left turn onto Missouri 141. Craig Marton was driving behind

Leslie Marton.

       9.      Plaintiffs Craig and Leslie Marton are husband and wife.

       10.     Present in Leslie Marton’s vehicle were her son and the family dog.

       11.     Defendant Richard Barnard drove through a red light and struck Leslie

Marton’s vehicle. Mr. Barnard was eating pizza while he was driving and not paying

attention to the traffic conditions in front of him.

       12.     That a result of this collision, Plaintiff Leslie Marton sustained injuries to

her body and mind. This injury resulted in past physical and mental suffering and will

cause future physical and mental suffering.

       13.     That as a result of the collision, Plaintiff Craig Marton sustained injuries to



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his mind. This injury resulted in past mental suffering and will cause future mental

suffering.

        14.   That as a result of the collision, Plaintiffs’ dog was injured and died due to

its injuries and/or complications related to those injuries.

        15.   Defendant Richard Barnard was charged with Failure to Obey a Traffic

Signal. He pled guilty to that charge.

          COUNT I-NEGLIGENCE AGAINST DEFENDANT RICHARD BARNARD

        16.   Plaintiff Leslie Marton incorporates all prior paragraphs as if fully stated

herein.

        17.   At the time of the collision, Defendant Richard Barnard was operating a

motor vehicle on a public highway. Accordingly, he owed a duty of the highest care and

caution to Plaintiff Leslie Marton.

        18.   Specifically, Defendant Richard Barnard owed a duty to Plaintiff to operate

the motor vehicle in a prudent and reasonable manner and to obey all applicable traffic

laws.

        19.   Defendant Richard Barnard operated the motor vehicle in a careless

manner by, at minimum, failing to provide a careful lookout when operating a motor

vehicle, driving too fast for conditions, failing to yield the right of way, and driving in a

manner that made him unable to stop within his range of vision; all of which are

violations of Missouri law.

        20.   It was foreseeable to Defendant Richard Barnard that this failure to obey

traffic laws and his failure to drive with care would cause serious injury as it did here.

        21.   Defendant Richard Barnard's careless and reckless operation of the motor



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vehicle caused the collision.

       22.    But for Defendant Richard Barnard’s actions, Plaintiff Leslie Marton would

not have been injured in the collision.

       23.    As a result of Defendant Richard Barnard’s actions, Plaintiff Leslie Marton

sustained injuries to her body and mind.

       24.    As a result of Defendant Richard Barnard’s actions, Plaintiffs Craig and

Leslie Marton’s dog sustained fatal injuries that caused the dog’s death.

       25.    Plaintiffs are entitled to relief for the loss of their dog.

       26.    Defendant Richard Barnard knew or had reason to know that there was a

high degree of probability that his reckless conduct would result in serious injury to

others. Despite this knowledge, Defendant Richard Barnard showed complete

indifference and conscious disregard for the safety of others, including Plaintiffs.

       WHEREFORE, Plaintiffs pray this Court to enter judgment in their favor and to

award Plaintiffs damages in excess of $50,000 and for punitive damages in excess of

$250,000.

       COUNT II-NEGLIGENT ENTRUSTMENT AGAINST DEFENDANT CHRISTINE
                              BARNARD
       27.     Plaintiffs incorporate all prior paragraphs as if fully stated herein.

       28.     Upon information and belief, Defendant Richard Barnard is incompetent

by reasons of inexperience, habitual recklessness or otherwise;

       29.      Upon information and belief, Defendant Christine Barnard knew or had

reason to know of Defendant Richard Barnard’s incompetence;

       30.      That Defendant Christine Barnard entrusted the 2007 Jeep Compass to

Defendant Richard Barnard.


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       31.       That the negligence of Christine Barnard concurred with the conduct of

the Defendant Richard Barnard as a proximate cause of the harm to Plaintiffs.


          WHEREFORE, Plaintiffs pray this Court to enter judgment in their favor and to

award Plaintiffs damages in excess of $50,000 and for all other relief this Court deems

just and proper.


          COUNT III-NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS AGAINST

                 DEFENDANTS CHRISTINE AND RICHARD BARNARD

       32.     Plaintiff Craig Marton incorporates all prior paragraphs as if fully stated

herein.

       33.     Defendants’ negligence involved an unreasonable risk of causing

emotional distress to Plaintiff Craig Marton.

       34.     Defendants knew or by using ordinary care could have known of such risk.

       35.     As a direct result of Defendants’ negligence Plaintiff sustained medically

diagnosable and significant emotional distress.

       36.     Defendant Richard Barnard knew or had reason to know that there was a

high degree of probability that its reckless conduct would result in serious injury to

others. Despite this knowledge, Defendant Richard Barnard showed complete

indifference and conscious disregard for the safety of Plaintiff.


       WHEREFORE, Plaintiffs pray this Court to enter judgment in their favor and to

award Plaintiffs damages in excess of $50,000 and for punitive damages in excess of

$250,000.




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                                 RESPECTFULLY SUBMITTED:

                                 /s/ James W. Eason
                                  _____________________________
                                 JAMES W. EASON, #57112
                                 The Eason Law Firm, LLC
                                 1924 Chouteau Avenue
                                 St. Louis, Missouri 63103
                                 (314) 932-1066
                                 (314) 667-3161 Facsimile
                                 james.w.eason@gmail.com




                                    6
                                                                                                                                  Electronically Filed - St Louis County - February 07, 2020 - 12:42 PM
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                                                                                                20SL-CC00905
In the
CIRCUIT COURT                                                                                 ┌                               ┐
                                                                                                      For File Stamp Only
Of St. Louis County, Missouri
                                                       February 7, 2020
                                                      _________________________
__________________________________________
 Craig and Leslie Marton                              Date
Plaintiff/Petitioner
                                                      _________________________
                                                      Case Number
vs.
                                                      _________________________
 Richard and Christine Barnard
__________________________________________            Division

                                                                                              └                               ┘
Defendant/Respondent




                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Craig and Leslie Marton, by and through the undersigned counsel pursuant
                                            Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
        Name of Process Server                      Address                                                       Telephone

        ___________________________________________________________________________
        Name of Process Server                      Address or in the Alternative                                 Telephone

        ___________________________________________________________________________
        Name of Process Server                      Address or in the Alternative                                 Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                    SERVE:
         Richard Barnard
        ____________________________________________               Christine Barnard
                                                                  ____________________________________________
        Name                                                      Name
         1403 Sugartree Lane
        ____________________________________________               1403 Sugartree Lane
                                                                  ____________________________________________
        Address                                                   Address
        ____________________________________________
         Pacific, MO 63069                                         Pacific, MO 63069
                                                                  ____________________________________________
        City/State/Zip                                            City/State/Zip

        SERVE:                                                    SERVE:
        ____________________________________________              ____________________________________________
        Name                                                      Name
        ____________________________________________              ____________________________________________
        Address                                                   Address
        ____________________________________________              ____________________________________________
        City/State/Zip                                            City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                              /s/ James W. Eason
                                                                  ___________________________________________
                                                                  Signature of Attorney/Plaintiff/Petitioner
                                                                   57112
                                                                  ___________________________________________
        By ________________________________________               Bar No.
            Deputy Clerk                                           1924 Choueau Ave., St. Louis, MO, 63103
                                                                  ___________________________________________
                                                                  Address
        ___________________________________________               ___________________________________________
                                                                   (314) 932-1066                    (314) 667-3161
        Date                                                      Phone No.                                     Fax No.


        CCADM62-WS         Rev. 07/19
                                                                                     Electronically Filed - St Louis County - February 07, 2020 - 12:42 PM
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Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

             (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
https://wp.stlcountycourts.com > forms.

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 07/19
                Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 12 of 82 PageID #: 24

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 20SL-CC00905
 STANLEY JAMES WALLACH
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 CRAIG MARTON                                                   JAMES WINDSOR EASON
                                                                SUITE 200
                                                                124 GAY AVENUE
                                                          vs.   CLAYTON, MO 63105
 Defendant/Respondent:                                          Court Address:
 RICHARD BARNARD                                                ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Vehicular                                       CLAYTON, MO 63105
                                                                                                                                     (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: CHRISTINE BARNARD
                                      Alias:
  1403 SUGARTREE LANE
  PACIFIC, MO 63069


        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        21-FEB-2020                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       AD
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-1561        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
               Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 13 of 82 PageID #: 25
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-1561    2    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                    54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73



OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-1561   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
              Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 15 of 82 PageID #: 27
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-1561   4   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 16 of 82 PageID #: 28

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 20SL-CC00905
 STANLEY JAMES WALLACH
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 CRAIG MARTON                                                   JAMES WINDSOR EASON
                                                                SUITE 200
                                                                124 GAY AVENUE
                                                          vs.   CLAYTON, MO 63105
 Defendant/Respondent:                                          Court Address:
 RICHARD BARNARD                                                ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Vehicular                                       CLAYTON, MO 63105
                                                                                                                                     (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: RICHARD BARNARD
                                      Alias:
  1403 SUGARTREE LANE
  PACIFIC, MO 63069


        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        21-FEB-2020                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       AD
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-1560        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
               Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 17 of 82 PageID #: 29
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-1560    2    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                    54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
               Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 18 of 82 PageID #: 30
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-1560   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
              Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 19 of 82 PageID #: 31
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
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Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
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   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-1560   4   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                                                                              Electronically Filed - St Louis County - February 24, 2020 - 08:50 AM
Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 20 of 82 PageID #: 32
                                                                              Electronically Filed - St Louis County - February 24, 2020 - 08:50 AM
Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 21 of 82 PageID #: 33
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Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 22 of 82 PageID #: 34
                                                                              Electronically Filed - St Louis County - February 24, 2020 - 08:50 AM
Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 23 of 82 PageID #: 35
                                                                              Electronically Filed - St Louis County - February 24, 2020 - 08:50 AM
Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 24 of 82 PageID #: 36
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Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 25 of 82 PageID #: 37
                                                                              Electronically Filed - St Louis County - February 24, 2020 - 08:50 AM
Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 26 of 82 PageID #: 38
                                                                              Electronically Filed - St Louis County - February 24, 2020 - 08:50 AM
Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 27 of 82 PageID #: 39
                                                                                                     Electronically Filed - St Louis County - April 02, 2020 - 04:12 PM
     Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 28 of 82 PageID #: 40


                                  IN THE CIRCUIT COURT
                                   21st JUDICIAL CIRCUIT
                           SAINT LOUIS COUNTY CIRCUIT COURT
                                  SAINT LOUIS, MISSOURI

CRAIG AND LESLIE MARTON,                            )
                                                    )
Plaintiffs,                                         )
                                                    )
v.                                                  )       Case No. 20SL-CC00905
                                                    )
RICHARD AND CHRISTINE BARNARD,                      )
                                                    )       Division       12
                                                    )
Defendants.                                         )

                                CERTIFICATE OF SERVICE

        Come now Plaintiffs, by and through their undersigned counsel, and certify that a copy of
Plaintiffs’ First Interrogatories Directed to Defendants and Plaintiffs’ Request for Production of
Documents were sent via email to the following counsel of record on this 2nd day of April, 2020:

Mr. Michael Cerulo
BATTY OTTO CORONADO, P.C.
7711 Bonhomme Avenue, Ste. 901
St. Louis, MO 63105
314.863.6274 Tel
314.863.6407 Fax
mcerulo@battyotto.com
Attorneys for Defendants




                                                    RESPECTFULLY SUBMITTED:

                                                    /s/ James W. Eason
                                                    _____________________________
                                                    JAMES W. EASON, #57112
                                                    THE EASON LAW FIRM, LLC
                                                    1924 Chouteau Avenue
                                                    Saint Louis, MO 63103
                                                    (314) 932-1066
                                                    (314) 667-3161 Facsimile
                                                    james.w.eason@gmail.com

                                                1
                                                                                            Electronically Filed - St Louis County - April 30, 2020 - 03:33 PM
     Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 29 of 82 PageID #: 41


                               IN THE CIRCUIT COURT
                               21st JUDICIAL CIRCUIT
                        SAINT LOUIS COUNTY CIRCUIT COURT
                               SAINT LOUIS, MISSOURI

CRAIG AND LESLIE MARTON,                        )
                                                )
Plaintiffs,                                     )
                                                )
v.                                              )      Case No. 20SL-CC00905
                                                )
RICHARD AND CHRISTINE BARNARD,                  )
                                                )      Division     12
                                                )
Defendants.                                     )

                               CERTIFICATE OF SERVICE

        Come now Plaintiffs, by and through their undersigned counsel, and certify that a
copy of Plaintiffs’ First Interrogatories Directed to Defendant Christine Barnard and
Plaintiffs’ Request for Production of Documents Directed to Defendant Christine
Barnard were sent via email to the following counsel of record on this 30th day of April,
2020:

Ms. Beth C. Boggs, #43089
BOGGS, AVELLINO, LACH & BOGGS, LLC
9326 Olive Blvd., Ste. 200
St. Louis, MO 63132
314.726.2310 Tel
314.726.2360 Fax
bboggs@balblawyers.com
Attorneys for Defendant Christine Barnard




                                                RESPECTFULLY SUBMITTED:

                                                /s/ James W. Eason
                                                _____________________________
                                                JAMES W. EASON, #57112
                                                THE EASON LAW FIRM, LLC
                                                1924 Chouteau Avenue
                                                Saint Louis, MO 63103
                                                (314) 932-1066
                                                (314) 667-3161 Facsimile
                                                james.w.eason@gmail.com
                                            1
                                                                              Electronically Filed - St Louis County - April 30, 2020 - 03:11 PM
Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 30 of 82 PageID #: 42
                                                                              Electronically Filed - St Louis County - April 30, 2020 - 03:11 PM
Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 31 of 82 PageID #: 43
                                                                              Electronically Filed - St Louis County - May 13, 2020 - 02:32 PM
Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 32 of 82 PageID #: 44
                                                                              Electronically Filed - St Louis County - May 13, 2020 - 02:32 PM
Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 33 of 82 PageID #: 45
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Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 34 of 82 PageID #: 46
                                                                              Electronically Filed - St Louis County - May 15, 2020 - 04:47 PM
Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 35 of 82 PageID #: 47
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Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 36 of 82 PageID #: 48
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Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 37 of 82 PageID #: 49
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Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 38 of 82 PageID #: 50
                                                                              Electronically Filed - St Louis County - May 15, 2020 - 04:47 PM
Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 39 of 82 PageID #: 51
                                                                              Electronically Filed - St Louis County - May 15, 2020 - 04:47 PM
Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 40 of 82 PageID #: 52
                                                                                           Electronically Filed - St Louis County - May 20, 2020 - 10:57 AM
     Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 41 of 82 PageID #: 53




                               IN THE CIRCUIT COURT
                               21st JUDICIAL CIRCUIT
                        SAINT LOUIS COUNTY CIRCUIT COURT
                               SAINT LOUIS, MISSOURI

CRAIG AND LESLIE MARTON,                        )
                                                )
Plaintiffs,                                     )
                                                )
v.                                              )      Case No. 20SL-CC00905
                                                )
RICHARD AND CHRISTINE BARNARD,                  )
                                                )      Division     12
                                                )
Defendants.                                     )


MOTION FOR DEFAULT JUDGMENT AGAINST DEFENDANT RICHARD BARNARD

       Plaintiffs Craig and Leslie Marton, by and through the undersigned counsel, state

the following for their Motion for Default Judgment:

        1.    On February 7, 2020 Plaintiffs filed their Petition herein, and Summonses

were issued by the Clerk directed to Defendants Richard and Christine Barnard.

        2.    On or about February 21, 2020, Defendant Richard Barnard was duly

served with the Summons and Petition, as evidenced by the Return of Service

previously filed herein and attached hereto as Exhibit 1.

        3.    More than thirty days have passed since Defendant Richard Barnard was

served at his last known address of 1403 Sugartree Lane, Pacific, Missouri 63069. The

same address as his mother, Co-Defendant Christine Barnard.

        3.    No counsel has entered their appearance for Defendant Richard Barnard.

        4.    Defendant Richard Barnard has not filed with the Clerk or this Court a

request for an extension of time.




                                            1
                                                                                            Electronically Filed - St Louis County - May 20, 2020 - 10:57 AM
   Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 42 of 82 PageID #: 54




      5.     Plaintiffs will present affidavits to their damages or appear for a damages

hearing in a manner prescribed by the Court.

      WHEREFORE, Plaintiffs pray the Court enter a default against Defendant

Richard Barnard.




                                                RESPECTFULLY SUBMITTED:

                                                /s/ James W. Eason
                                                _____________________________
                                                JAMES W. EASON, #57112
                                                THE EASON LAW FIRM, LLC
                                                1924 Chouteau Avenue
                                                Saint Louis, MO 63103
                                                (314) 932-1066
                                                (314) 667-3161 Facsimile
                                                james.w.eason@gmail.com


                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 20th of May, 2020 the foregoing was
filed electronically with the Clerk of Court, therefore to be served electronically by
operation of the Court’s electronic filing system upon the parties.

                                                                    /s/ James W. Eason




                                            2
                                                                                                Electronically Filed - St Louis County - May 21, 2020 - 01:48 PM
     Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 43 of 82 PageID #: 55




                   IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                              STATE OF MISSOURI

CRAIG MARTON and                                  )
LESLIE MARTON,                                    )
                                                  )
                       Plaintiffs,                )
                                                  )
v.                                                )      Cause No. 20SL-CC00905
                                                  )
RICHARD BARNARD and                               )
LESLIE BARNARD,                                   )
                                                  )
                       Defendants.                )

                            LIMITED ENTRY OF APPEARANCE

        COME NOW Michael D. Cerulo, Erica L. Briscoe and the law firm of BATY OTTO

CORONADO, PC, and hereby enter their appearance as counsel and attorneys of record on

behalf of Defendant Richard Barnard for the limited purpose of contesting jurisdiction in the

above-entitled case.




                                                  /s/ Michael D. Cerulo
                                                  Michael D. Cerulo (#57536)
                                                  Erica Briscoe (#60683)
                                                  BATY OTTO CORONADO, P.C.
                                                  7711 Bonhomme Ave., Suite 901
                                                  St. Louis, MO 63105
                                                  mcerulo@batyholm.com
                                                  ebriscoe@batyholm.com
                                                  Telephone:     314-863-6274
                                                  Telecopy:      314-863-6407
                                                  ATTORNEYS FOR DEFENDANT
                                                  RICHARD BARNARD
                                                                                          Electronically Filed - St Louis County - May 21, 2020 - 01:48 PM
   Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 44 of 82 PageID #: 56




                                     Certificate of Service

       I do hereby certify that, on May 21, 2020, a copy of the above and foregoing was
served via the Court’s electronic filing system to all counsel of record.


/s/ Michael D. Cerulo
Attorneys for Defendant
Richard Barnard
                                                                              Electronically Filed - St Louis County - May 21, 2020 - 11:58 AM
Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 45 of 82 PageID #: 57
                                                                              Electronically Filed - St Louis County - May 21, 2020 - 11:58 AM
Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 46 of 82 PageID #: 58
                                                                                                         Electronically Filed - St Louis County - May 22, 2020 - 04:03 PM
     Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 47 of 82 PageID #: 59




                    IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                               STATE OF MISSOURI

CRAIG MARTON and                                       )
LESLIE MARTON,                                         )
                                                       )
                       Plaintiffs,                     )
                                                       )
v.                                                     )      Cause No. 20SL-CC00905
                                                       )
RICHARD BARNARD and                                    )
CHRISTINE BARNARD,                                     )
                                                       )
                       Defendants.                     )


     MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION FOR DEFAULT
         JUDGMENT BASED ON LACK OF PERSONAL JURISDICTION

        COMES NOW Defendant Richard Barnard (“Defendant”), by and through the undersigned

counsel, and in opposition to Plaintiffs Craig Marton and Leslie Marton’s (“Plaintiffs”) Motion for

Default Judgment, advise the Court that it does not have personal jurisdiction over Defendant due

to Plaintiffs’ failure to obtain service of process on Defendant. Defendant respectfully represents

to the Court as follows:

                             PROCEDURAL HISTORY OF CASE

        On May 15, 2020, Plaintiffs filed their motion for default judgment, alleging that

Defendant had been served with a summons in this matter and had failed to answer within thirty

days of service. The only evidence supporting Plaintiffs’ motion is an affidavit prepared by their

private process server. Defendant advises the Court that he has been served with process in this

matter and further advises that the affidavit of the special process server is legal insufficient to

confer personal jurisdiction to the Court over Defendant.

        On February 7, 2020, Plaintiffs filed their Petition in this lawsuit against Defendant and his

mother, Christine Barnard.     On February 21, 2020, Plaintiffs’ private process server Mark B.
                                                                                                     Electronically Filed - St Louis County - May 22, 2020 - 04:03 PM
   Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 48 of 82 PageID #: 60




Smith served Christine Barnard with a summons at her address at 1403 Sugartree Lane in Pacific,

Missouri. A copy of the return of service on Christine Barnard is attached hereto as Exhibit A. At

the same time, Process Server Smith attempted to serve Richard Barnard at the 1403 Sugartree

Lane address in Pacific, Missouri. During this attempted service of process, Christine Barnard

advised Process Server Smith that Defendant did not live with her and was a resident of the

Chicago, Illinois area.

       On February 21, 2020, Defendant lived in the State of Illinois. He moved to Geneva,

Illinois in October 2019, where he established his residence. On February 21, 2020, Defendant’s

dwelling house and usual place of abode was 420 Brittany Court, Apartment H in Geneva, Illinois.

On February 21, 2020, Defendant did not reside with Christine Barnard.

       On February 22, 2020, Process Server Smith prepared an “affidavit” concerning his attempt

to serve Defendant. In his affidavit, Process Server Smith does not claim that he served Defendant

with a summons. Instead, he attested that he “delivered” a copy of the summons and petition to

Christine Barnard at Ms. Barnard’s residence. Process Server Smith confirmed that service was

not obtained by noting that Christine Barnard advised him on February 21, 2020 that Defendant

resides in the Chicago, Illinois area. A copy of the affidavit of Mark B. Smith is attached hereto

as Exhibit B.

       Process Server Smith’s affidavit does not contain any information indicating that

Defendant resided at 1403 Sugartree Lane in Pacific, Missouri on February 21, 2020. Rather than

an “affidavit of return of service” like the one prepared following service on Christine Barnard,

Process Server Smith merely prepared an “affidavit” concerning his attempt to serve Defendant.

The “affidavit” does not assert that Defendant was served, but merely states that a copy of the

summons was “delivered” to Ms. Barnard.
                                                                                                         Electronically Filed - St Louis County - May 22, 2020 - 04:03 PM
   Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 49 of 82 PageID #: 61




       Defendant requests an evidentiary hearing as to the issues raised in Plaintiffs’ Motion for

Default Judgment.

                                    LAW AND ARGUMENT

       A.      Under Missouri Law, Defendant has not been Properly Served, the Court
               Lacks Personal Jurisdiction over Defendant, and the Motion for Default
               Judgment should be Denied.
       “[P]ersonal jurisdiction refers ... to the power of a court to require a person to respond to a

legal proceeding that may affect the person's rights or interests.” J.C.W. ex rel. Webb v. Wyciskalla,

275 S.W.3d 249, 253 (Mo. banc 2009). A challenge to the trial court's personal jurisdiction is

simply an argument that “the constitutional principle of due process bars [the court] from affecting

the rights and interests of a particular person, whether such a ‘person’ be an individual or an entity

such as a corporation.” Id. “‘Service of process is a predicate to the trial court's jurisdiction to

adjudicate the rights of the defendant, and when the requirements for manner of service are not

met, the court lacks the power to adjudicate.’” Scholz v. Schenk, 489 S.W.3d 306, 309 (Mo. App.

W.D. 2016) (quoting Manzella v. Dorsey, 258 S.W.3d 501, 504 (Mo. App. E.D. 2008)). “A default

judgment, being void due to lack of jurisdiction, remains void forever, and any kind of proceeding

to cancel it is proper.” Shapiro v. Brown, 979 S.W.2d 526, 528 (Mo. App. E.D. 1998).

       Rule 54 governs the issuance and service of summons in civil actions. Rule 54.01(a)-(b)

provides that, upon the filing of a pleading necessitating service of process, the clerk of the court

must issue the required summons and deliver it to the sheriff or other person specially appointed

to serve the summons. Then, in the case of an individual within the state, personal service on the

individual must be made:

       by delivering a copy of the summons and petition personally to the individual or by leaving
       a copy of the summons and petition at the individual's dwelling house or usual place of
       abode with some person of the individual's family over the age of fifteen years, or by
       delivering a copy of the summons and petition to an agent authorized by appointment or
       required by law to receive service of process.
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Rule 54.13(b)(1). When a party seeks to effect service outside the state, service must be made

“[b]y a person authorized by law to serve process in civil actions within the state of territory where

such service is made” and as provided in Rule 54.13(b). Mo. Sup. Ct. R. 54.14; see also Mo. Stat.

§ 506.192 (“Service of process outside the state and return thereof shall be made in accordance

with supreme court rule 54.20(b)).

        Additionally, service on an individual at home must be made “by delivering a copy of the

summons and petition personally to the individual or by leaving a copy of the summons and

petition at the individual’s dwelling house or usual place of abode with some person of the

individual’s family over the age of fifteen years. . . .” Mo. R. Sup. Ct. 54.13(b) (emphasis added).

        After serving process in accordance with Rule 54.13(b), “Every officer . . . shall make an

affidavit . . . stating the time, place and manner of such service, the official character of the affiant,

and the affiant’s authority to serve process in civil actions within the state or territory where such

service was made.” Mo. Sup. Ct. R. 54.20(b)(1). If these requirements are not met, a server’s

return is deficient and the trial court does not acquire personal jurisdiction over the defendant.

        In the present case, the affidavit of Process Server Smith confirms that he did not obtain

service on Defendant. Process Server Smith did not denote his affidavit as a return of service on

Defendant; it is merely identified as an affidavit. Further, the affidavit fails to conform with Rule

54.13(b) in that Process Server Smith does not affirm that he served Defendant; he merely states

that he “delivered” the summons “by leaving a copy with Christine Barnard.” Of greatest

significant, Process Server Smith acknowledges the failure to obtain service on Defendant by

stating, “Affiant further states, Christine Barnard advised Richard Barnard currently resides in the

Chicago, Illinois area.” See Exhibit B. Process Server Smith did not provide any information
                                                                                                       Electronically Filed - St Louis County - May 22, 2020 - 04:03 PM
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contradicting Ms. Barnard’s representation or supporting the proposition that Defendant did reside

with Ms. Barnard on February 21, 2020.

       Process Server Smith’s affidavit concerning the delivery of Defendant’s summons

contrasts starkly with the “Affidavit of Return of Service” he prepared following service on

Christine Barnard.   The titles of the two documents are notably different.         The document

concerning Christine Barnard was titled “Affidavit of Return of Service” as opposed to the

“affidavit” concerning Defendant. Although Process Server Smith simply indicates that he

“delivered” the summons for Defendant to Ms. Barnard, he specifically confirms that he “served”

Ms. Barnard with her summons in her return of service. The significant differences in the two

documents yield one conclusion: Process Server Smith cannot and did not attest that he obtained

service of process on Defendant.

       On February 21, 2020, Defendant did not reside with Christine Barnard or even in the State

of Missouri. In October 2019, Defendant moved to Geneva, Illinois, where he established his

residence. On February 21, 2020, Defendant’s “dwelling house” and usual place of abode was

420 Brittany Court, Apartment H in Geneva, Illinois. Plaintiffs did not properly serve Defendant

by having a summons delivered to his mother in Pacific Missouri. Due to the obvious defect in

service, this Court does not have personal jurisdiction over Defendant and cannot enter judgment

against him.

       B.      Process Server Smith’s Affidavit is Not a Return of Service, Not Prima
               Facie Evidence of Service and the Burden of Establishing Valid Service Lies
               with Plaintiffs

       “A return of service is prima facie evidence of service. To impeach a return of service there

must be clear and convincing evidence corroborating the denial of the party alleged to have been

served…In Missouri, clear and convincing evidence is that which tilts the scales in the affirmative
                                                                                                         Electronically Filed - St Louis County - May 22, 2020 - 04:03 PM
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when weighted against evidence in opposition; evidence which clearly convinces the fact finder

of the truth of the proposition to be proved.”). Cook v. Polineni, M.D., 967 S.W.2d 687, 690-691

(Mo. App. E.D. 1998).

        “The return of a Missouri sheriff, or that of his deputy, on a summons served on a litigant

in the State, made in accordance with the statutes, is conclusive as to service, and can be

contradicted only in an action for making a false return. Williamson v. Williamson, 331 S.W.2d

140, 144 (Mo. App. 1960). This doctrine of conclusiveness does not extend to the return of a

private person appointed to serve the summons. Id.

       In the present matter, Plaintiffs bear the burden of proof in order to establish valid service.

Although a return of service constitutes prima facie evidence of service, no such return of service

has been filed for Defendant. Whereas Plaintiffs filed a document entitled “Affidavit of Return of

Service” for Christine Barnard, they simply filed an “Affidavit” concerning the delivery of

Defendant’s summons. The document is equivocal and non-committal as to whether service

actually occurred, with Process Server Smith noting that he was advised that Defendant lived in

the State of Illinois. Likewise, Process Server Smith does not represent himself to be a Missouri

sheriff or sheriff’s deputy. Accordingly, Plaintiffs are not entitled to assert the doctrine of

conclusiveness in support of their contention that Defendant has been served. Because Plaintiffs

have not provided the Court with a proper return confirming service on Defendant, Plaintiffs have

not made prima facie showing that the Court has personal jurisdiction over him. To the extent

Plaintiffs contend they served Defendant, they bear the burden of proof in establishing that service,

as Process Server Smith’s affidavit is insufficient on its face.
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       WHEREFORE, Defendant Richard Barnard respectfully requests that the Court deny

Plaintiffs’ Motion for Default Judgment against Richard Barnard and for such further relief as the

Court deems appropriate under the circumstances.




                                                    /s/ Michael D. Cerulo
                                                    Michael D. Cerulo (#57536)
                                                    Erica L. Briscoe (#60683)
                                                    BATY OTTO CORONADO, P.C.
                                                    7711 Bonhomme Ave., Suite 901
                                                    St. Louis, MO 63105
                                                    Telephone:     314-863-6274
                                                    Facsimile:     314-863-6407
                                                    mcerulo@batyotto.com
                                                    ebriscoe@batyotto.com
                                                    ATTORNEYS FOR DEFENDANT
                                                    RICHARD BARNARD




                                CERTIFICATE OF SERVICE

      I hereby certify that the above and foregoing was served on all counsel of record via the
Missouri Casenet filing system on May 22, 2020.


/s/ Michael D. Cerulo
Attorney for Defendant
Richard Barnard
                                                                              Electronically Filed - St Louis County - June 02, 2020 - 03:52 PM
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                               IN THE CIRCUIT COURT
                               21st JUDICIAL CIRCUIT
                        SAINT LOUIS COUNTY CIRCUIT COURT
                               SAINT LOUIS, MISSOURI

CRAIG AND LESLIE MARTON,                        )
                                                )
Plaintiffs,                                     )
                                                )
v.                                              )     Case No. 20SL-CC00905
                                                )
RICHARD AND CHRISTINE BARNARD,                  )
                                                )     Division      12
                                                )
Defendants.                                     )



                            MOTION FOR ALIAS SUMMONS

        Come now Plaintiffs and move for this Court to issue an Alias Summons to Serve

Defendant Richard Barnard, 420 Brittany Court, Apartment H, Geneva, IL 60134.



                                         RESPECTFULLY SUBMITTED:

                                         /s/ James W. Eason
                                          _____________________________
                                         JAMES W. EASON, #57112
                                         The Eason Law Firm, LLC
                                         1924 Chouteau Avenue
                                         St. Louis, Missouri 63103
                                         (314) 932-1066
                                         (314) 667-3161 Facsimile
                                         james.w.eason@gmail.com




So Ordered: __________________________________ Dated: ________________
             Judge
                                                                                           Electronically Filed - St Louis County - June 05, 2020 - 04:09 PM
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                       IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                            TWENTY-FIRST JUDICIAL CIRCUIT
                                  STATE OF MISSOURI

CRAIG AND LESLIE MARTON,                 )
                                         )
              Plaintiffs,                )       Cause No. 20SL-CC00905
                                         )
v.                                       )
                                         )
RICHARD AND CHRISTINE BARNARD,           )       JURY TRIAL DEMANDED
                                         )
              Defendants.                )

                               CERTIFICATE OF SERVICE

       Comes now Plaintiff, by and through the undersigned counsel, and certifies that a
copy of Plaintiff Leslie Marton’s Answers and/or Objections to Defendant Christine
Barnard’s First Interrogatories Directed to Plaintiff Leslie Marton and Plaintiff Leslie
Marton’s Responses and/or Objections to Defendant Christine Barnard’s First Request for
Production of Documents Directed to Plaintiff Leslie Marton were sent via email to the
following counsel of record on this 5th day of June, 2020:

Beth C. Boggs, #06208313
BOGGS, AVELLINO, LACH & BOGGS, L.L.C.
9326 Olive Boulevard, Suite 200
St. Louis, MO 63132
(314) 726-2310 – Telephone
(314) 726-2360 – Facsimile
bboggs@balblawyers.com
Attorneys for Defendant Christine Barnard




                                                 RESPECTFULLY SUBMITTED:

                                                 /s/ James W. Eason
                                                 _____________________________
                                                 JAMES W. EASON, #57112
                                                 THE EASON LAW FIRM, LLC
                                                 1924 Chouteau Avenue
                                                 Saint Louis, MO 63103
                                                 (314) 932-1066
                                                 (314) 667-3161 Facsimile
                                                 james.w.eason@gmail.com
                                             1
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                       IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                            TWENTY-FIRST JUDICIAL CIRCUIT
                                  STATE OF MISSOURI

CRAIG AND LESLIE MARTON,                 )
                                         )
              Plaintiffs,                )       Cause No. 20SL-CC00905
                                         )
v.                                       )
                                         )
RICHARD AND CHRISTINE BARNARD,           )       JURY TRIAL DEMANDED
                                         )
              Defendants.                )

                               CERTIFICATE OF SERVICE

       Comes now Plaintiff, by and through the undersigned counsel, and certifies that a
copy of Plaintiff Craig Marton’s Answers and/or Objections to Defendant Christine
Barnard’s First Interrogatories Directed to Plaintiff Craig Marton and Plaintiff Craig
Marton’s Responses and/or Objections to Defendant Christine Barnard’s First Request for
Production of Documents Directed to Plaintiff Craig Marton were sent via email to the
following counsel of record on this 5th day of June, 2020:

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St. Louis, MO 63132
(314) 726-2310 – Telephone
(314) 726-2360 – Facsimile
bboggs@balblawyers.com
Attorneys for Defendant Christine Barnard




                                                 RESPECTFULLY SUBMITTED:

                                                 /s/ James W. Eason
                                                 _____________________________
                                                 JAMES W. EASON, #57112
                                                 THE EASON LAW FIRM, LLC
                                                 1924 Chouteau Avenue
                                                 Saint Louis, MO 63103
                                                 (314) 932-1066
                                                 (314) 667-3161 Facsimile
                                                 james.w.eason@gmail.com
                                             1
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                Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 61 of 82 PageID #: 73

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 20SL-CC00905
 STANLEY JAMES WALLACH
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 CRAIG MARTON                                                JAMES WINDSOR EASON
                                                             SUITE 200
                                                             124 GAY AVENUE
                                                       vs.   CLAYTON, MO 63105
 Defendant/Respondent:                                       Court Address:
 RICHARD BARNARD                                             ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                             105 SOUTH CENTRAL AVENUE
                                                             CLAYTON, MO 63105
 CC Pers Injury-Vehicular                                                                                                    (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                       (Except Attachment Action)
    The State of Missouri to: RICHARD BARNARD
                              Alias:
  420 BRITTANY COURT
  APT H
  GENEVA, IL 60134
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                              notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov, or
                              through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
    ST. LOUIS COUNTY          proceeding.

                                 08-JUN-2020                                        ____________________________________________________
                                  Date                                                                         Clerk
                                Further Information:
                                CD
                                                 Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years who permanently
           resides with the Defendant/Respondent.
              .
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                   _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________        ___________________________________________________________
                  Printed Name of Sheriff or Server                                       Signature of Sheriff or Server
                                Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                I am: (check one)    the clerk of the court of which affiant is an officer.
                                                     the judge of the court of which affiant is an officer.
           (Seal)                                    authorized to administer oaths in the state in which the affiant served the above summons.
                                                      (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            ___________________________________________________________
                                                                                                  Signature and Title




OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-492      1        (20SL-CC00905)                             Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                               506.500, 506.510 RSMo
                Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 62 of 82 PageID #: 74
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                            See the following page for directions to clerk and to officer making return on service of summons.




                                   Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion and/or petition must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion and/or petition when offered to him, the return
     shall be prepared to show the offer of the officer to deliver the summons and motion and/or petition and the
     Defendant’s/Respondent's refusal to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the individual personally or by
     leaving a copy of the summons and motion and/or petition at the individual's dwelling house or usual place of abode with
     some person of the family over 15 years of age, or by delivering a copy of the summons and motion and/or petition to an agent
     authorized by appointment or required by law to receive service of process; (2) On Guardian. On an infant or incompetent
     person who has a legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the guardian
     personally; (3) On Corporation, Partnership or Other Unincorporated Association. On a corporation, partnership or
     unincorporated association, by delivering a copy of the summons and motion and/or petition to an officer, partner, or
     managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent with the person
     having charge thereof or by delivering copies to its registered agent or to any other agent authorized by appointment or
     required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. On a public, municipal,
     governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case
     of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body
     or to any person otherwise lawfully so designated.

          Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

          Service may be made in any state or territory in the United States. If served in a territory, substitute the word "territory"
     for the word "state."

          The officer making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant's authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to appear
     in court. The return should be made promptly, and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-492          2         (20SL-CC00905)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                         506.500, 506.510 RSMo
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                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                     Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.
CCADM73

OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-492   3    (20SL-CC00905)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                   506.500, 506.510 RSMo
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   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73




OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-492   4   (20SL-CC00905)       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
                                                                                                                  Electronically Filed - St Louis County - June 17, 2020 - 11:03 AM
         Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 65 of 82 PageID #: 77
     IN THE 21ST JUDICIAL CIRCUIT COURT, ST, LOUIS
                          COUNTY. MISSOURI
                                                                                    ||il ilil| ]l
                                                                        I|llil ]rl *5814*              tilt
                       AFFIDAVIT OF SERVICE
                                                                                         Case No. :20SL-CC00905



Plaintiff(s):              CRAIGMARTON
                           RICHARD BARNARD

STATE OF II,I..INOIS
COIJNTY OF COOK                  ss.:

Michael Noble, the undersigned, being duly sworn, deposes and   says:




             l:36 PM. I servetl the wirhin SIIMMONS FOR PERSONAL SERVICE OUTSIDE THE STATE
On 116/15/202\l at
OF MISSOURI; PETITION on RICHARD BARNARD ar 420 Brittany Couri, Apt. H, Geneva, IL60134 in the
manner indicated below:

SUITABLE AGE: by delivering thereat a tr-ue copy of each to Jennifer Hollis, Girlfriend of RICHARD BARNARD,
a person of suirable age and discretion. Said premises is RICHARD BARNARD's usual place of abode within the
state.




iY,"Sil1;'i:..1\1-rF6""'                          .20   7l              Michael Nobie
                                                                        American Attomey Services
                                                                        7l0 I-aramie Ave.
                                                                        Glenview, IL60025



Notaly Public




                   OFFICIAL SEAL
                     N BACHKOVA
          NOTARY PUBLIC. STATE OF ILLINOIS
          Nty Commission E:pires August 28,2021
                                                                                                                                                           Electronically Filed - St Louis County - June 17, 2020 - 11:03 AM
                Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 66 of 82 PageID #: 78

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 20SL-CC00905
 STANLEY JAMES WALLACH
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 CRAIG MARTON                                                JAMES WINDSOR EASON
                                                             SUITE 200
                                                             124 GAY AVENUE
                                                       vs.   CLAYTON, MO 63105
 Defendant/Respondent:                                       Court Address:
 RICHARD BARNARD                                             ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                             105 SOUTH CENTRAL AVENUE
                                                             CLAYTON, MO 63105
 CC Pers Injury-Vehicular                                                                                                    (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                       (Except Attachment Action)
    The State of Missouri to: RICHARD BARNARD
                              Alias:
  420 BRITTANY COURT
  APT H
  GENEVA, IL 60134
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                              notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov, or
                              through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
    ST. LOUIS COUNTY          proceeding.

                                 08-JUN-2020                                        ____________________________________________________
                                  Date                                                                         Clerk
                                Further Information:
                                CD
                                                 Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years who permanently
           resides with the Defendant/Respondent.
              .
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                   _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________        ___________________________________________________________
                  Printed Name of Sheriff or Server                                       Signature of Sheriff or Server
                                Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                I am: (check one)    the clerk of the court of which affiant is an officer.
                                                     the judge of the court of which affiant is an officer.
           (Seal)                                    authorized to administer oaths in the state in which the affiant served the above summons.
                                                      (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            ___________________________________________________________
                                                                                                  Signature and Title




OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-492      1        (20SL-CC00905)                             Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                               506.500, 506.510 RSMo
                                                                                                                                                                     Electronically Filed - St Louis County - June 17, 2020 - 11:03 AM
                Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 67 of 82 PageID #: 79
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                            See the following page for directions to clerk and to officer making return on service of summons.




                                   Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion and/or petition must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion and/or petition when offered to him, the return
     shall be prepared to show the offer of the officer to deliver the summons and motion and/or petition and the
     Defendant’s/Respondent's refusal to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the individual personally or by
     leaving a copy of the summons and motion and/or petition at the individual's dwelling house or usual place of abode with
     some person of the family over 15 years of age, or by delivering a copy of the summons and motion and/or petition to an agent
     authorized by appointment or required by law to receive service of process; (2) On Guardian. On an infant or incompetent
     person who has a legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the guardian
     personally; (3) On Corporation, Partnership or Other Unincorporated Association. On a corporation, partnership or
     unincorporated association, by delivering a copy of the summons and motion and/or petition to an officer, partner, or
     managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent with the person
     having charge thereof or by delivering copies to its registered agent or to any other agent authorized by appointment or
     required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. On a public, municipal,
     governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case
     of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body
     or to any person otherwise lawfully so designated.

          Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

          Service may be made in any state or territory in the United States. If served in a territory, substitute the word "territory"
     for the word "state."

          The officer making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant's authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to appear
     in court. The return should be made promptly, and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-492          2         (20SL-CC00905)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                         506.500, 506.510 RSMo
                                                                                                                               Electronically Filed - St Louis County - June 17, 2020 - 11:03 AM
                Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 68 of 82 PageID #: 80



                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                     Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.
CCADM73

OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-492   3    (20SL-CC00905)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                   506.500, 506.510 RSMo
                                                                                                                             Electronically Filed - St Louis County - June 17, 2020 - 11:03 AM
                Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 69 of 82 PageID #: 81



   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73




OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-492   4   (20SL-CC00905)       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
                                                                                                                      Electronically Filed - St Louis County - June 19, 2020 - 02:05 PM
      Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 70 of 82 PageID #: 82
   IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS
                      COUNTY. MISSOURI

                    AFFIDAVIT OF SERVICE
                                                                          illlil ]il l]ltl||illlllill
                                                                                                 *5814*
       '            Case No. :20SL-CC00905


Plaintiff(s):          CRAIG MARTON
Defendant(s):          RICHARD BARNARD

STATE OF ILL]NOIS
COLJNTY OF      COOK         ss.:

Michael Nobte, the undersigned, being duly sworn, deposes and     says:




On 0617812020 at 1:08 PM. I served the within SUMMONS FOR PERSONAL SERVICE OUTSIDE THE STATE
OF MISSOURI; PETITION on RICHARD BARNARD at 420 Brittany Court, Apt. H, Geneva, IL60134 in the
manner indicated below:

INDIVIDUAL: by delivering thereat     a true copy of each to said recipient personally; deponent knew the person so
served to be the p'erson desciibed herein by deponent asking the person if he or she is the named Recipient and the
person responding that he or she is in fact the person named in this aclion as lhe Recipient.

A description of the Recipient, or other person served on behalf of the Recipient is   as    follows:

                       Color of skin/race         lolnr of heir     Ase       Heiqhr              Weisht
            Male       Carrcasian               Blonde              40        Over     t6'        161-2OO lhs




:'.r?ffix,::?15liilEr::_                        2o2b
                                                                           American Attomey Services
                                                                           710 Laramie Ave.
                                                                           Glenview, IL60025



Notary Public
                                                                                                                                                           Electronically Filed - St Louis County - June 19, 2020 - 02:05 PM
                Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 71 of 82 PageID #: 83

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 20SL-CC00905
 STANLEY JAMES WALLACH
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 CRAIG MARTON                                                JAMES WINDSOR EASON
                                                             SUITE 200
                                                             124 GAY AVENUE
                                                       vs.   CLAYTON, MO 63105
 Defendant/Respondent:                                       Court Address:
 RICHARD BARNARD                                             ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                             105 SOUTH CENTRAL AVENUE
                                                             CLAYTON, MO 63105
 CC Pers Injury-Vehicular                                                                                                    (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                       (Except Attachment Action)
    The State of Missouri to: RICHARD BARNARD
                              Alias:
  420 BRITTANY COURT
  APT H
  GENEVA, IL 60134
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                              notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov, or
                              through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
    ST. LOUIS COUNTY          proceeding.

                                 08-JUN-2020                                        ____________________________________________________
                                  Date                                                                         Clerk
                                Further Information:
                                CD
                                                 Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years who permanently
           resides with the Defendant/Respondent.
              .
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                   _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________        ___________________________________________________________
                  Printed Name of Sheriff or Server                                       Signature of Sheriff or Server
                                Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                I am: (check one)    the clerk of the court of which affiant is an officer.
                                                     the judge of the court of which affiant is an officer.
           (Seal)                                    authorized to administer oaths in the state in which the affiant served the above summons.
                                                      (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            ___________________________________________________________
                                                                                                  Signature and Title




OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-492      1        (20SL-CC00905)                             Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                               506.500, 506.510 RSMo
                                                                                                                                                                     Electronically Filed - St Louis County - June 19, 2020 - 02:05 PM
                Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 72 of 82 PageID #: 84
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                            See the following page for directions to clerk and to officer making return on service of summons.




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                                                                                                                               Electronically Filed - St Louis County - June 19, 2020 - 02:05 PM
                Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 73 of 82 PageID #: 85



                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                     Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



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CCADM73

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                                                                                                                             Electronically Filed - St Louis County - June 19, 2020 - 02:05 PM
                Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 74 of 82 PageID #: 86



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Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

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You should ask your lawyer for further information.




CCADM73




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                                                                                                                  Electronically Filed - St Louis County - June 17, 2020 - 11:03 AM
         Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 75 of 82 PageID #: 87
     IN THE 21ST JUDICIAL CIRCUIT COURT, ST, LOUIS
                          COUNTY. MISSOURI
                                                                                    ||il ilil| ]l
                                                                        I|llil ]rl *5814*              tilt
                       AFFIDAVIT OF SERVICE
                                                                                         Case No. :20SL-CC00905



Plaintiff(s):              CRAIGMARTON
                           RICHARD BARNARD

STATE OF II,I..INOIS
COIJNTY OF COOK                  ss.:

Michael Noble, the undersigned, being duly sworn, deposes and   says:




             l:36 PM. I servetl the wirhin SIIMMONS FOR PERSONAL SERVICE OUTSIDE THE STATE
On 116/15/202\l at
OF MISSOURI; PETITION on RICHARD BARNARD ar 420 Brittany Couri, Apt. H, Geneva, IL60134 in the
manner indicated below:

SUITABLE AGE: by delivering thereat a tr-ue copy of each to Jennifer Hollis, Girlfriend of RICHARD BARNARD,
a person of suirable age and discretion. Said premises is RICHARD BARNARD's usual place of abode within the
state.




iY,"Sil1;'i:..1\1-rF6""'                          .20   7l              Michael Nobie
                                                                        American Attomey Services
                                                                        7l0 I-aramie Ave.
                                                                        Glenview, IL60025



Notaly Public




                   OFFICIAL SEAL
                     N BACHKOVA
          NOTARY PUBLIC. STATE OF ILLINOIS
          Nty Commission E:pires August 28,2021
                                                                                                                                                           Electronically Filed - St Louis County - June 17, 2020 - 11:03 AM
                Case: 4:20-cv-00933 Doc. #: 1-5 Filed: 07/17/20 Page: 76 of 82 PageID #: 88

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 20SL-CC00905
 STANLEY JAMES WALLACH
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 CRAIG MARTON                                                JAMES WINDSOR EASON
                                                             SUITE 200
                                                             124 GAY AVENUE
                                                       vs.   CLAYTON, MO 63105
 Defendant/Respondent:                                       Court Address:
 RICHARD BARNARD                                             ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                             105 SOUTH CENTRAL AVENUE
                                                             CLAYTON, MO 63105
 CC Pers Injury-Vehicular                                                                                                    (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                       (Except Attachment Action)
    The State of Missouri to: RICHARD BARNARD
                              Alias:
  420 BRITTANY COURT
  APT H
  GENEVA, IL 60134
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                              notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov, or
                              through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
    ST. LOUIS COUNTY          proceeding.

                                 08-JUN-2020                                        ____________________________________________________
                                  Date                                                                         Clerk
                                Further Information:
                                CD
                                                 Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years who permanently
           resides with the Defendant/Respondent.
              .
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                   _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________        ___________________________________________________________
                  Printed Name of Sheriff or Server                                       Signature of Sheriff or Server
                                Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                I am: (check one)    the clerk of the court of which affiant is an officer.
                                                     the judge of the court of which affiant is an officer.
           (Seal)                                    authorized to administer oaths in the state in which the affiant served the above summons.
                                                      (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            ___________________________________________________________
                                                                                                  Signature and Title




OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-492      1        (20SL-CC00905)                             Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                               506.500, 506.510 RSMo
                                                                                                                                                                     Electronically Filed - St Louis County - June 17, 2020 - 11:03 AM
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    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                            See the following page for directions to clerk and to officer making return on service of summons.




                                   Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion and/or petition must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion and/or petition when offered to him, the return
     shall be prepared to show the offer of the officer to deliver the summons and motion and/or petition and the
     Defendant’s/Respondent's refusal to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the individual personally or by
     leaving a copy of the summons and motion and/or petition at the individual's dwelling house or usual place of abode with
     some person of the family over 15 years of age, or by delivering a copy of the summons and motion and/or petition to an agent
     authorized by appointment or required by law to receive service of process; (2) On Guardian. On an infant or incompetent
     person who has a legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the guardian
     personally; (3) On Corporation, Partnership or Other Unincorporated Association. On a corporation, partnership or
     unincorporated association, by delivering a copy of the summons and motion and/or petition to an officer, partner, or
     managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent with the person
     having charge thereof or by delivering copies to its registered agent or to any other agent authorized by appointment or
     required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. On a public, municipal,
     governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case
     of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body
     or to any person otherwise lawfully so designated.

          Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

          Service may be made in any state or territory in the United States. If served in a territory, substitute the word "territory"
     for the word "state."

          The officer making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant's authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to appear
     in court. The return should be made promptly, and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-492          2         (20SL-CC00905)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                         506.500, 506.510 RSMo
                                                                                                                               Electronically Filed - St Louis County - June 17, 2020 - 11:03 AM
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                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                     Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.
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OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-492   3    (20SL-CC00905)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                   506.500, 506.510 RSMo
                                                                                                                             Electronically Filed - St Louis County - June 17, 2020 - 11:03 AM
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   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-492   4   (20SL-CC00905)       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
                                                                              Electronically Filed - St Louis County - July 13, 2020 - 03:20 PM
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                                                                              Electronically Filed - St Louis County - July 13, 2020 - 03:20 PM
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                               IN THE CIRCUIT COURT
                               21st JUDICIAL CIRCUIT
                        SAINT LOUIS COUNTY CIRCUIT COURT
                               SAINT LOUIS, MISSOURI

CRAIG AND LESLIE MARTON,                         )
                                                 )
Plaintiffs,                                      )
                                                 )
v.                                               )      Case No. 20SL-CC00905
                                                 )
RICHARD AND CHRISTINE BARNARD,                   )
                                                 )      Division      12
                                                 )
Defendants.                                      )


         DISMISSAL WITHOUT PREJUDICE AGAINST CHRISTINE BARNARD

        Come Now Plaintiffs and hereby dismiss this matter without prejudice against
Defendant Christine Barnard, each party bearing its own costs. All other claims remain
pending against Richard Barnard.



                                                         RESPECTFULLY SUBMITTED,


                                                            THE EASON LAW FIRM, LLC

                                                                     /s/ James W. Eason
                                                         __________________________
                                                        JAMES W. EASON, #57112
                                                               The Eason Law Firm, LLC
                                                                 1924 Chouteau Avenue
                                                                St. Louis, Missouri 63103
                                                                  Phone: (314) 932-1066
                                                                     Fax: (314) 667-3161
                                                             james.w.eason@gmail.com

                              CERTIFICATE OF SERVICE

The above signature certifies that a copy of the foregoing was electronically filed with
the Court’s e-filing system on this 17th day of July, 2020.



                                             1
